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                                                             July 20, 2021
Hon. Gary S. Katzmann
United States Court of International Trade
1 Federal Plaza
New York, NY 10278


Case: Invenergy Renewables LLC et al. v. United States et al., No. 19-00192

Re:    Supplemental filing on Transpacific Steel LLC v. U.S., No. 20-2157, 2021 WL 2932512
       (Fed. Cir. July 13, 2021).

Dear Judge Katzmann:

       Pursuant to this Court’s July 13 Order (ECF #326), Plaintiff Invenergy Renewables LLC,
and Plaintiff-Intervenors Clearway Energy Group LLC, AES Distributed Energy Inc., EDF
Renewables, Inc. and Solar Energy Industries Association respectfully submit this
supplemental filing addressing the Federal Circuit’s recent decision reversing this Court’s
grant of judgment in favor of Plaintiffs in Transpacific Steel LLC v. United States.

         First, the Federal Circuit’s decision in Transpacific Steel LLC v. U.S., No. 20-2157
(Fed. Cir. July 13, 2021), has no relevance to Plaintiffs’ Administrative Procedure Act (APA)
claims in this case. Nor does that decision, which addressed the President’s authority to increase
a tariff previously imposed for national security purposes under Section 232 of the 1962 Trade
Expansion Act, have any bearing on Plaintiffs’ claim that the United States Trade Representative
(USTR) lacks delegated authority to withdraw an exclusion previously granted by that agency
from a safeguard measure imposed pursuant to Section 201 of the 1974 Trade Act. Whatever
authority the President may or may not have to withdraw an exclusion and re-impose a safeguard
measure on a particular product under the safeguard statute, the President delegated no such
authority to USTR. Rather, as explained in Plaintiffs’ briefs (including Plaintiffs’ post-argument
brief filed today), the President only delegated to USTR the authority to issue procedures for,
and then grant or deny, requests for exclusion of particular products from the safeguard measure
established by Proclamation 9693.

         Furthermore, while the Federal Circuit’s Transpacific Steel decision is more relevant to
Plaintiffs’ claim that neither USTR nor the President have statutory authority to withdraw the
bifacial panel Exclusion granted by USTR in June 2019, it does not undermine Plaintiffs’ key
arguments on that issue. In fact, that decision confirms a key point made throughout this
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litigation by Plaintiffs: that the Court must ensure that the Government has met the statutory
prerequisites for taking action under the safeguard statute. See Transpacific Steel, Slip Op. at 29
(explaining that the court’s conclusion that, under Section 232, the President could take
additional action after the 15 days period prescribed by the statute for implementing an initial
action to adjust imports did not mean that the statute “permit[s] any presidential imposition after
the 15-day period,” and still requires (inter alia) “an affirmative finding of [national security]
threat by the Secretary [of Commerce] [as] the predicate for Presidential action”).

        While the Federal Circuit concluded in Transpacific Steel that the President had
complied with the few requirements of Section 232 and therefore had not exceeded his
authority, that is not the case here. Whereas Section 232 of the Trade Expansion Act gives
the President broad authority to take action regarding imports that threaten national security,
Sections 201-04 of the 1974 Trade Act set forth many requirements and prerequisites for the
imposition and modification of safeguard tariffs on presumptively fair trade. Those include
(1) the obligation, set forth in Sections 201 and 203, to conduct a cost-benefit analysis and
confirm that any action taken provides greater economic and social benefits than costs; (2)
an explicit bar, set forth in Section 203(e)(7), against re-applying a safeguard measure to a
product less than two years after it was terminated; and (3) Section 204’s requirement that the
President make certain findings and fulfill certain procedural requirements before modifying or
terminating a safeguard action.

        Finally, unlike Section 232 of the Trade Act, the safeguard statute requires that any tariffs
imposed thereunder be phased down over the course of the action, not increased. This is another
key way the two statutory schemes differ. As the Federal Circuit explained in Transpacific Steel,
in the context of national security tariffs, there is a long history (both pre-dating and post-dating
Section 232) of Presidents taking additional action to protect the national security, including by
increasing previously-imposed tariffs where needed. See Slip. Op. at 31-37. There is no such
history of action to increase or reimpose safeguard tariffs under Section 204(b)(1)(B). And,
unlike Section 232, the safeguard statute includes language that makes it clear that Congress only
intended for safeguard measures to be decreased during the limited time that they remain in
place. See 19 U.S.C. § 2253(a)(4), (e)(5).

        As Plaintiffs explained in their briefs, USTR’s withdrawal of the Exclusion in April 2020
violated all of these statutory requirements—in addition to going beyond the delegation of
authority to the agency by the President and violating the APA in numerous respects. Thus,
the Federal Circuit’s disagreement with this Court’s conclusion that the President had
violated Section 232 when he increased national security tariffs on steel imports from
Turkey does not undermine Plaintiffs’ arguments that the April Withdrawal was unlawful.
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                                     Respectfully submitted,

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                    CERTIFICATE OF SERVICE AND COMPLIANCE

       I hereby certify that on this 20th day of July, 2021, that I served a true copy of the

foregoing in Court No. 19-00192 through the Court’s electronic filing system. I further certify

that this filing comports with the Court’s July 13, 2020 Order as it contains 768 words.


                                              /s/ Amanda Shafer Berman
